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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re Search Warrant dated November 5, 2021,
                                                                     21 MAG 10685 (AT)

                                                                           ORDER
ANALISA TORRES, District Judge:

     The Court has reviewed Petitioners’ motion for appointment of a special master dated
November 10, 2021. Accordingly,

       1. By November 12, 2021, the Government shall confirm via email that it has paused its
          extraction and review of the contents of Petitioner O’Keefe’s phones;
       2. By November 16, 2021, the Government shall provide the Court with its response to
          Petitioners’ motion;
       3. By November 19, 2021, Petitioners shall provide the Court with their reply, if any.

       SO ORDERED.

Dated: November 11, 2021
       New York, New York
